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Jon L. Norinsberg, Esq.
jon@norinsberglaw.com
                                                                      December 12, 2024
VIA ECF
Hon. Robyn F. Tarnofsky
United States Magistrate Judge
Southern District of New York
United States Courthouse
500 Pearl Street, Room 9B
New York, N.Y. 10007


                Re: Saunders v. Inhale Cannabis Co., Inc.
                    Case No. 1:24-cv-05766 (DEH) (RFT)
                    Confirmation of Mailing


Dear Judge Tarnofsky:

          We represent Plaintiff, Michael Saunders, in the above-referenced ADA action. We write
now in response to the Court’s Order, dated December 11, 2024, requiring Plaintiff to show proof
that our office has served a copy of the Order to Show Cause on Defendant by registered mail and
by any email addresses used by Defendant. (Dkt. 10). Pursuant to the Court’s Order, please find
attached proof that Plaintiff has duly served said Order to Show Cause on December 12, 2024, via
Letterstream, Certified Mail, Return Receipt Requested. (Exhibit A.) We have also attempted to
contact Defendant via email at info@inhalecannabisclubs.com, but we have not yet received a
response to this correspondence. (Exhibit B). We are hopeful that the attached documents provide
the Court with sufficient information regarding proof of service.

          We thank the Court for its attention to this matter.
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                                                    Respectfully submitted,




                                                   ___________________
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cc:
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43 W. 33rd
New York, N.Y., 10000
